Case 2:14-cv-07194-ES-MAH Document5 Filed 01/19/15 Page 1 of 2 PagelD: 13

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 

Civil Action No. 2:14-CV-07194-ES-MAH

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I)

This Summons and Complaint Civil Cover Sheet HIGHER EDUCATION MANAGEMENT G GROUP, INC.
and Corporate Statement for

was received by me on (date) JANUARY 7, 2015 __

LJ I personally served the summons on the individual at (place) __
- on (date) __ ; 5 or

C1 I left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on (date) ‘| and mailed a copy to the individual’s last known address; or

[x] I served the Summons and Complaint on KIRSTON MARVEL , who is
designated by law to accept service of process on behalf of (name of organization) -INCORP. SERVICES, INC.
2360 Corporate Circle, Ste 400 Henderson, NV 89074 __ on (date) JANUARY 7,201 5 ;or

] I returned the summons unexecuted because er - a a

LJ Other (specify):

My fees are $ _ for travel and $ - for services, for a total of $

Executed on: January 8, 2015

 

 

Person making service/Susan Kruse NV Lic 1469
Vegas Pro Serv

1029 Canosa Avenue

Las Vegas, NV 89104

702-526-0411

Subscribed and Sworn to before me on this 8" day of January 2015

f

lex fers, LUSINEAVETISYAN

Notary Public in affd for the above County and State Pinion

 

oll My Commission Expires: 05-16-1
Corticate No No: 13- 2h

 
Case 21a Cv OCCA pReGMmg > rifle ds9344 P41 5> dear ot ST Pab aarp 14

 

RETURN OF SERVICE

Service of the Summons and complaint was made by | DATE

el Ot LL fo2b 1S

NAME,OF SERVER (PRINT) ,

ean Kp le TE Doce Sender Wher MG

Check one box below to indicate appropriate method of service

 

-

 

 

 

 

() Served personally upon the defendant. Place where served:

 

and
discretion then residing therein.

Name of person with whom the summons and complaint were left: _ Keston Llnese/_|

ry

"| Returned unexecuted:

7) Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age

 

 

 

Other (specify) :

 

 

 

 

STATEMENT OF SERVICE FEES
TRAVEL SERVICES

 

TOTAL

 

 

 

DECLARATION OF SERVER

 

I declare under penalty of perjury under the laws of the United States of America that the foregoing
information

contained in the Return of Service and Statement of Service Fees is true and correct.

Executed on Ole, haat 5 : —+ 7 >

Date Signature of Server

p02 (aor Wy
Address of Seryer

Aas as pW §WY

 

 

 
